      Case 22-18303-JKS Doc 142-3 Filed 08/25/23 Entered 08/25/23 12:51:44                                     Desc
                Proposed Order Converting BAV Auto LLC Case Page 1 of 3



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
ANDREW R. VARA
UNITED STATES TRUSTEE, REGIONS 3 AND 9
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Newark, NJ 07102
Telephone: (973) 645-3014
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                                                                      Chapter 11
In Re:
                                                                      Case No. 22-18303(JKS)
Alexandre Dacosta and Viviane Antunes, et al.4,                       (Jointly Administered)

Debtors.                                                              Hearing Date: Sept. 26, 2023 at 10:00 a.m.

                                                                      Judge: John K. Sherwood

                ORDER CONVERTING BAV AUTO, LLC CASE TO CHAPTER 7

         The relief set forth on the following pages numbered two (2) and (3) is hereby ORDERED.




4
 The jointly administered Debtors are Alexandre Dacosta and Vivianne Antunes, having SSNs with the last four digits of
2325 and 0411, respectively, and BAV Auto, L.L.C., having a TIN with the last four digits 7479.
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Alexandre Dacosta and Viviane Antunes, et al.
Chapter 11 Case No.: 22-18303(JKS) (Jointly Administered)
Order Converting BAV Auto, LLC Case to Chapter 7
_________________________________________________________________________________


        Upon consideration of the Motion of the United States Trustee by and through counsel, for an

Order Converting the BAV Auto, LLC Case to Chapter 7, or Alternatively to Dismiss the Case,

pursuant to 11 U.S.C. § 1112(b), and notice of the motion having been given to the Individual

Debtors, the Corporate Debtors, the Related Debtors’ respective counsel, and parties in interest, and

the Court having found cause for the entry of the within Order, and the Court having further found

that entry of the within Order is in the best interest of creditors and the bankruptcy estate, it is hereby:

        ORDERED that the chapter 11 case of BAV Auto, LLC, case number 22-17933(JKS), is

CONVERTED from chapter 11 to chapter 7; and it is further

        ORDERED that within 14 days of the date of this Order the Debtor shall file:

                   Amendments to previously filed schedules and statements as necessary,

                   All schedules and statements required by 11 U.S.C. § 521(a), if such documents

                    have not already been filed,

                   A schedule of all property which was acquired after the commencement of the

                    case, but before the entry of this Order,

                   A schedule of executory contracts and unexpired leases entered into or assumed

                    after the commencement of the case, but before the entry of this Order,

                   A schedule of unpaid debts incurred after the commencement of the case, but

                    before the entry of this Order, and it is further;

        ORDERED that the United States Trustee shall immediately appoint a chapter 7 trustee in

this case; and it is further
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Order Converting Case to Chapter 7
_________________________________________________________________________________


      ORDERED that the Debtor or chapter 11 trustee shall:

                Immediately turn over to the chapter 7 trustee, all records and property of the

                 estate in his/her/its control,

                Within 120 days of the date of this order, file a Final Report including an

                 accounting of all receipts and distributions or a statement indicating why the report

                 cannot be filed.
